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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                      Plaintiff,                                 4:15CR3044
      vs.
                                                                   ORDER
NICOLE ZABEL,
                      Defendant.


      Defendant Zabel has moved to continue the pretrial motion deadline, (filing no.
24), because the defendant has new counsel who needs additional time review this case
and confer with the defendant before deciding if pretrial motions should be filed. The
motion to continue is unopposed. Based on the showing set forth in the motion, the court
finds the motion should be granted. Accordingly,

      IT IS ORDERED:

      1)     Defendant Zabel’s motion to continue, (filing no. 24), is granted.

      2)     As to both defendants, pretrial motions and briefs shall be filed on or
             before June 29, 2015.

      3)     As to both defendants, trial of this case is continued pending resolution of
             any pretrial motions filed.

      4)     The ends of justice served by granting the motion to continue outweigh the
             interests of the public and the defendants in a speedy trial. Accordingly, as
             to both defendants, the additional time arising as a result of the granting of
             the motion, the time between today’s date and June 29, 2015, shall be
             deemed excludable time in any computation of time under the requirements
             of the Speedy Trial Act, because despite counsel’s due diligence, additional
             time is needed to adequately prepare this case for trial and failing to grant
             additional time might result in a miscarriage of justice. 18 U.S.C. §
             3161(h)(1), (h)(6) & (h)(7).

      June 3, 2015.                                BY THE COURT:
                                                   s/ Cheryl R. Zwart
                                                   United States Magistrate Judge
